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                           Inner City Press
March 31, 2021
By E-mail to HellersteinNYSDChambers@nysd.uscourts.gov
Hon. Alvin K. Hellerstein, United States District Judge
Southern District of New York, 500 Pearl Street New York, NY 10007

Re: Press application to unseal, with limited redactions if required, filings in US v. Coro, 19-cr-144
(AKH)
Dear Judge Hellerstein:
  This concerns, in the above-captioned criminal case that relates inter alia to US sanctions on Venezuela,
the complete sealing of filings.
These are clearly judicial documents. And there is a public interest in US sanctions, on Venezuela and
elsewhere, and their enforcement and violation and all filings in such cases.
  Mr. Coro's counsel this evening filed that "Notice is hereby given to the public.. that two sealed
submissions, dated March 8, 2021 and March 22, 2021, were made by the defendant Victor Mones Coro."
Docket No. 194.
 While appreciating the notice, no legal argument justifying withholding in full, rather than redacting
where absolutely necessary was provided. Inner City Press hereby opposes the sealing, and requests
unsealing.
  Covering this for Inner City Press, I have noted how many filings are listed as sealed: see, e.g., Docket
120 (10/13/20), and further back. Compare, Judge Jed S. Rakoff's request ruling on Inner City Press'
request in US v. Weigand, viewable here: https://www.documentcloud.org/documents/20513316-
icpunsealweigandjsrorder. See also, Judge Broderick's recent docketing of Inner City Press' request to
unseal in US v. Ashe / Piao, 15-cr-706, Docket No 999 (Inner City Press letter) and Docket 998 (ordering
that the sealing be justified or removed by April 9).
 Again, these too are, needless to say, judicial documents within the meaning of United States v. Aref,
533 F.3d 72, 81-83 (2d Cir. 2008) and Lugosch v. Pyramid Co., 435 F.3d 110 (2d Cir. 2006) - they should
be made available.
 Please confirm receipt of and docket this application, and thank you for your attention to it.
Respectfully submitted,
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